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           In the United States Court of Federal Claims


 TERRANCE CHRISTOPHER HENDRIX,

                    Plaintiff,
                                                          Case No. 20-cv-1889
                        v.
                                                          Filed: January 11, 2021
 THE UNITED STATES,

                    Defendant.



                                             ORDER

        On December 14, 2020, Plaintiff, proceeding pro se, filed this civil action in the United
States Court of Federal Claims. See ECF No. 1. To proceed with a civil action in this court, a
plaintiff must either pay $402.00 in fees—a $350.00 filing fee plus a $52.00 administrative fee—
or request authorization to proceed without prepayment of fees by submitting a signed application
to proceed in forma pauperis (IFP). See 28 U.S.C. §§ 1914, 1915; RCFC 77.1(c); Claims Court
Fees Schedule, available at http://www.uscourts.gov/services-forms/fees/us-court-federal-claims-
fee-schedule.

        Plaintiff filed his complaint without paying the requisite filing fee or submitting a
completed IFP application. See ECF No. 1. On December 17, 2020, this Court ordered plaintiff
to either pay the filing fee or submit the IFP application by January 7, 2021, or the action would
be dismissed without prejudice for failure to prosecute under Rule 41 of Rules of the United States
Court of Federal Claims. See ECF No. 6. To date, Plaintiff has not paid the fees or filed an IFP
application. For these reasons, this action is DISMISSED WITHOUT PREJUDICE. The Clerk
of Court is directed to enter judgment accordingly and mark this case as closed.

       IT IS SO ORDERED.


                                                           s/ Eleni M. Roumel
                                                            Eleni M. Roumel
                                                               Chief Judge
